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                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA


   OMEGRA SHIPPING PTE LTD OF
   SINGAPORE,                                  Civil Action No. 2022-cv-20531

                          Plaintiff,

         v.

   WORLD FUEL SERVICE (Singapore) PTE
   LTD,

                          Defendant.




         DEFENDANT’S MOTION TO DISMISS THE AMENDED COMPLAINT
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         Pursuant to Federal Rule of Civil Procedure 12(b)(6) and Local Rule 7.1(a)(1), Defendant

  World Fuel Services (Singapore) PTE LTD (“WFS”) respectfully submits this memorandum of

  law in support of its motion to dismiss the Amended Complaint filed by Plaintiff Omegra Shipping

  PTE LTD of Singapore (“Omegra”) on March 1, 2022, ECF No. 4 (“Am. Compl.”).

                                   PRELIMINARY STATEMENT

         This action is fundamentally a maritime breach of contract case. The rest is simply noise.

         Omegra presents in its Amended Complaint a fairly straightforward breach of contract

  claim. Omegra, as buyer, contracted with WFS, as seller, for the purchase of marine fuel for use

  by a vessel that was temporarily chartered by Omegra. Omegra claims the fuel that WFS provided

  did not meet the contract’s specifications, and thus WFS breached the parties’ contract. But the

  parties’ contract expressly provides that the fuel’s quality is determined by a particular fuel sample,

  a sample that Omegra admits fell within the contract’s quality requirements. Moreover, the

  economic-loss damages that Omegra seeks to recover are expressly precluded under the parties’

  contract. Omegra accordingly fails to state a claim for breach of contract (Count I).

         In an attempt to avoid the inevitable dismissal of this action, Omegra advances claims for

  negligence, gross negligence, and fraud. These claims are solely directed at circumventing the

  contract’s express terms that determine the fuel’s quality and limit WFS’s liability. None of the

  claims, however, are viable.

         Omegra’s negligence claim (Count II) is simply its breach of contract claim couched as a

  tort cause of action and is barred under well-established maritime economic-loss rules. Further,

  Omegra’s fraud and gross negligence claims (Counts III and IV) are both based on the same alleged

  fraudulent conduct. Omegra asserts—solely on “information and belief”—that the representative

  fuel sample identified in the parties’ contract as determinative of the fuel’s quality was fraudulently

  fabricated in an effort to deceive Omegra and prevent it from advancing a claim against WFS.


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  Among other issues, Omegra’s fraud and gross negligence allegations are conclusory and not pled

  with the required particularity.

         Accordingly, and for all of the reasons stated below, WFS’s motion should be granted and

  the Amended Complaint dismissed in full.

                              ALLEGED FACTUAL BACKGROUND

  I.     WFS Agrees To Sell Fuel To Omegra

         Omegra entered into a time charter agreement with White Lilac Shipping S.A. (“Owners”),

  the owner of M/V Fortune Iris (the “Vessel”). See Am. Compl. ¶¶ 6–7. Omegra does not own the

  Vessel. Id. Rather, as time charterer, Omegra temporarily directs the Vessel’s destinations, routes,

  and, among other things, is responsible for procuring fuel for the Vessel during the charter period.

  See Am. Compl., Ex. A ¶ 7.

         WFS is a seller of marine fuel for vessels (often referred to as “Bunkers”). Id. ¶ 8. On

  September 10, 2021, WFS agreed to sell fuel to Omegra for use by the Vessel (the “Marine Fuel

  Contract”). Id. ¶ 10. However, WFS does not supply fuel itself. Accordingly, WFS entered into

  a separate agreement with Sentek Marine and Trading Pte Ltd. (“Sentek”) to physically supply and

  deliver fuel to the Vessel. Id. ¶ 9.

  II.    The Parties’ Marine Fuel Contract

         The Marine Fuel Contract includes the Bunker Sales Confirmation (Am. Compl., Ex. B)

  and the “WFS Marine Group of Companies General Terms and Conditions” (id., Ex. C), the terms

  of which are fully incorporated into the contract, see Am. Compl. ¶¶ 10, 11. This collective Marine

  Fuel Contract contains three provisions pertinent to this action.

         First, the contract requires that the fuel conform to the International Standards Organization

  (“ISO”) 8217:2010 specification, which caps the aggregate levels for aluminum and silicon as well

  as water content in the fuel. Id. ¶ 13 & Ex. B at 1.


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          Second, the contract expressly defines the process by which the parties were to determine

  whether the sold fuel met the above ISO specification in the event that Omegra disputed the fuel’s

  quality. The contract provides that WFS or its physical supplier (i.e., Sentek) would collect

  samples of the fuel at delivery, and that the samples retained by WFS or Sentek would conclusively

  determine the fuel’s quality:

          In the event of a claim by Buyer [based on] an analysis result showing that any
          agreed specification parameter(s) has exceeded the confidence level(s) according
          to the relevant sections on precision and interpretation of test results in the ISO
          4259 standard, the sample(s) in Seller’s or it physical supplier’s possession shall
          be tested for the allegedly off-specification parameters only and analyzed by an
          independent surveyor located in the country (and where available, port) of supply,
          whose results shall be conclusive and binding on both Buyer and Seller, absent
          fraud or manifest error.

  Am. Compl., Ex. C ¶ 6(b). The contract further provides that any samples drawn “at any date after

  delivery shall not be valid as an indicator of the quality of the Products supplied.” Id. ¶ 6(c).

          Third, in the event of a dispute between the parties, Omegra expressly agreed to limit its

  damages to compensatory damages, capped at the price that it paid for the fuel:

          SELLER’S LIABILITY FOR ANY CLAIMS, WHETHER ARISING FROM
          QUALITY, QUANTITY . . . OR ANY OTHER CAUSE EITHER IN CONTRACT
          OR TORT (INCLUDING NEGLIGENCE), SHALL NOT EXCEED THE PRICE
          OF THAT PORTION OF THE PRODUCTS SOLD ON WHICH LIABILITY IS
          ASSERTED. FURTHERMORE, NEITHER THE SELLER NOR ITS PHYSICAL
          SUPPLIER SHALL HAVE ANY LIABILITY TO THE BUYER UNDER OR IN
          CONNECTION WITH ANY TRANSACTION FOR (1) ANY DEMURRAGE,
          OFFHIRE OR OTHER VESSEL DELAYS OR (2) LOSS OF ACTUAL OR
          ANTICIPATED PROFIT OR (3) LOSSES CAUSED BY BUSINESS
          INTERRUPTION OR (4) LOSS OF GOOD WILL OR REPUTATION OR (5)
          FOR INDIRECT, SPECIAL, INCIDENTAL, EXEMPLARY, PUNITIVE OR
          CONSEQUENTIAL DAMAGES WHETHER OR NOT FORESEEABLE . . . .

  Id. ¶ 6(g).

  III.    Omegra Disputes The Quality Of WFS’s Fuel

          On September 24, 2021, Sentek supplied the Vessel with fuel and collected samples of the

  fuel at delivery, retaining two samples in its possession. See Am. Compl. ¶ 12 & Ex. D (the


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  “Bunker Delivery Note” or “BDN”).1 Shortly after delivery, Owners and, in turn, Omegra began

  to dispute the fuel’s quality.2 Id. ¶ 14. The sample retained by Sentek (the “Supplier Sample”)

  revealed that the fuel conformed to the contract’s ISO specifications. Id. ¶ 15. The other

  samples—samples that were in Owners’ possession as well as samples that Owners collected after

  delivery (see supra note 1)—did not. Id. ¶¶ 14, 16, 17, 23. Omegra alleges, without detail, that it

  became “apparent to Owners and Omegra that the Supplier Sample came from a different source

  than the Bunkers supplied to the Vessel[.]” Id. ¶ 18.

         Owners ultimately refused to consume the fuel, and, as a result, Omegra alleges that it was

  unable to “fix” the Vessel (i.e., rent the Vessel to a third party) for one month until after the fuel

  was removed (a process referred to as “de-bunkering”). Id. ¶ 22.

                                     PROCEDURAL POSTURE

         On February 22, 2022, Omegra commenced this action, seeking monetary damages for the

  economic loss it incurred in addressing the purported issues that Owners experienced with the fuel

  that WFS sold Omegra.

         Omegra asserts that WFS breached the Marine Fuel Contract by supplying fuel to the

  Vessel (i.e., Bunkers) that did not conform to the contract’s ISO specifications. See Am. Compl.

  ¶¶ 26–34. Omegra specifically alleges that, based on testing of samples in Owners’ possession,

  WFS sold fuel that had too much water content as well as aluminum and silicon. See id. Omegra



  1
         The BDN reflects that two samples (bearing seal ## 4437253 and 4437254) were retained
  by the “Bunker Tanker” (i.e., Sentek). The BDN further reflects that the other alleged samples
  were retained by the Vessel and were otherwise in Owners’ possession.
  2
          Although not material to this motion, it is WFS’s understanding that the fuel quality
  requirements in Omegra’s agreement with Owners does not match the quality requirements in
  Omegra’s agreement with WFS, which ultimately led to the instant dispute. See Am. Compl. ¶ 14
  (alleging that testing on certain samples “failed to meet [the] required specifications under the
  Time Charter between owners and Omegra”).


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   also alleges that it incurred economic damages in resolving this purported breach, including costs

   and losses associated with removing the fuel from, and its inability to use the, Vessel. See id.

   ¶¶ 22, 24, 34, 40. Omegra does not, however, allege that the Vessel was physically damaged or

   that the Vessel even used the fuel. In any event, Omegra asserts that WFS is liable for breach of

   contract and negligence. See id. Counts I & II.

          Additionally, Omegra asserts that the sample retained by Sentek and provided for testing

   (the Supplier Sample)—the sample that “revealed that the Bunkers were on-specification”—was,

   on “information and belief,” fabricated in an attempt to deceive Omegra and prevent it from

   advancing claims against WFS. Id. ¶¶ 18, 43, 51. Based on these allegations concerning the

   authenticity of the Supplier Sample, Omegra claims that WFS is liable for fraud and gross

   negligence. See id. Counts III & IV. In addition to the above-discussed damages, Omegra seeks

   punitive damages in connection with its gross negligence claim. Id. ¶ 55.

                                            ARGUMENT

          Omegra’s Amended Complaint should be dismissed in full because it pleads no viable

   cause of action.

          A claim should be dismissed where it fails to allege “sufficient factual matter” that, if

   “accepted as true,” would “state a claim to relief that is plausible on its face.” Newbauer v.

   Carnival, 26 F.4th 931, 934–35 (11th Cir. 2022) (quoting Iqbal, affirming dismissal in maritime

   action); Fed. R. Civ. P. 12(b)(6). A claim is not facially plausible where the “plaintiff’s factual

   allegations” are “merely consistent with” the defendant’s liability such that liability is “no more

   than a sheer possibility.” Newbauer, 26 F.4th at 934–35.

          Further, a “complaint that provides ‘labels and conclusions’ or ‘a formulaic recitation of

   the elements of a cause of action’ is not adequate to survive a Rule 12(b)(6) motion to dismiss[,]”

   and, relatedly, if allegations are “more conclusory than factual, then the court does not have to


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   assume        their     truth.”   Id.   (collecting   cases).   Accordingly,    assertions    made on

   “information and belief” are “conclusory” and are thus “not entitled to a presumption of truth”

   where the complaint fails to allege the underlying “factual information” reasonably supporting the

   asserted “belief.” Scott v. Experian Info., 2018 WL 3360754, at *6–7 (S.D. Fla. June 29, 2018)

   (collecting cases). That is, a plaintiff may not hide speculative claims behind hedged assertions.

   The plaintiff must plead known facts supporting each claim. Moreover, in “alleging fraud[,]” the

   “circumstances constituting fraud” must be stated with “particularity[.]” Fed. R. Civ. P. 9(b).

            Finally, “a copy of a written instrument that is an exhibit to a pleading is a part of the

   pleading for all purposes.” Fed. R. Civ. P. 10(c). Thus, “when the exhibits” to a complaint

   “contradict the general and conclusory allegations of the pleading, the exhibits govern.” Crenshaw

   v. Lister, 556 F.3d 1283, 1292 (11th Cir. 2009) (collecting cases).

            Here, Omegra fails to meet its pleading burden on each count.

   I.       Count I Fails To State A Claim For Breach Of Contract

            A breach of contract claim should be dismissed where, like here, the plaintiff fails to allege

   sufficient facts plausibly supporting “(1) a valid contract; (2) a material breach; and (3) damages.”

   Brush v. Miami Beach Healthcare Grp., 238 F. Supp. 3d 1359, 1366–68 (S.D. Fla. 2017)

   (quotation omitted) (dismissing breach of contract claim) (Lenard, J.); People’s Tr. Ins. v. Alonzo-

   Pombo, 307 So. 3d 840, 842 (Fla. 3d DCA 2020) (same). Count I fails on the last two elements

   (breach and damages).

            A.           Breach: Omegra’s Allegations Establish That WFS Supplied Fuel That Met
                         The Marine Fuel Contract’s Requirements

            Omegra fails to allege facts plausibly supporting a breach.

            Omegra claims that WFS breached the Marine Fuel Contract by providing fuel that failed

   to meet the agreed specification for maximum aluminum and silicon levels as well as high water



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   content. Am. Compl. ¶¶ 28–32. The parties’ contract, however, identified the specific sample of

   fuel that would conclusively define the fuel’s quality. Id., Ex. C ¶ 6(b). Omegra acknowledges

   that the agreed representative sample—the Supplier Sample in Sentek’s possession (the only

   sample that matters per the contract’s express terms)—revealed that the Bunkers were on

   specification. Am. Compl. ¶ 16. This process—set forth in Clause 6(b) of the parties’ contract—

   is the only process by which to determine the fuel’s quality. Under Omegra’s own allegations,

   then, WFS sold fuel that was on specification as defined by the parties’ agreement such that WFS

   did not breach the Marine Fuel Contract. See, e.g., Sempra Energy Trading v. BP Prod. N. Am.,

   860 N.Y.S.2d 71, 72 (N.Y. App. Div. 2008) (affirming dismissal of breach of contract claim,

   enforcing bunker contract’s sample and testing provisions where allegations and documents

   attached to the complaint reflected that the controlling fuel sample met the contract’s fuel

   specifications); Curacao Oil N.V. v. Trafigura Pte., 2020 WL 3494685, at *5–7 (N.Y. Sup. Ct.

   Feb. 3, 2020) (same), aff'd, 189 A.D.3d 404, 132 N.Y.S.3d 774 (2020).

          Omegra nevertheless claims that the Bunkers were off specification, relying entirely on

   allegations concerning the testing and analysis of samples other than the sample that was

   “conclusive and binding on both” parties. See Am. Compl., Ex. C ¶ 6(b). Omegra alleges that

   testing on certain samples (i.e., the “Viswa Sample,” the “1st CCIC sample,” and the “2nd CCIC

   Sample”) indicated that the Bunkers were off specification. Am. Compl. ¶¶ 14, 16–17. Omegra’s

   own allegations, and the Bunker Delivery Note attached to the Amended Complaint (Exhibit D),

   however, reflect that those off-specification samples were in Owners’ possession. And, as

   discussed above, the parties’ contract expressly defined the fuel’s quality to be conclusively

   determined from the sample—and only the sample—in WFS’s or Sentek’s possession (i.e., the

   Supplier Sample). These purportedly off-specification samples are thus irrelevant to the contract.




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           Omegra further alleges that tests of samples taken from the Bunkers after they were

   removed from the Vessel also reflected off-specification fuel. Id. ¶ 23. But the parties’ contract

   expressly states that any sample drawn at any date after delivery “shall not be valid as an indicator

   of the quality of” the Bunkers. Id., Ex. C ¶ 6(c). This purportedly off-specification sample is thus

   also irrelevant to the contract.

           Simply put, none of the allegedly off-specification samples were samples in WFS’s or

   Sentek’s possession taken at delivery, as the contract expressly required. The only alleged sample

   results that complies with the parties’ contract (the Supplier Sample) “revealed that the Bunkers

   were on-specification[.]” Am. Compl. ¶ 15. Pursuant to Clause 6(b) of the parties’ contract, those

   results are conclusive and binding. Omegra accordingly fails to allege any basis on which to infer

   an actual breach of the Marine Fuel Contract. See Brush, 238 F. Supp. 3d at 1366–68 (dismissing

   claim for failure to allege the breach of a specific contractual provision).

           Omegra will inevitably argue that it could rely on its own samples to establish a breach

   because WFS purportedly committed fraud. See Am. Compl., Ex. C ¶ 6(b) (sample and testing

   requirements inapplicable in case of fraud). That is, according to Omegra, the plausibility of its

   contract claim will turn on the viability of its fraud claim. Because Omegra’s fraud claim should

   be dismissed (discussed below), its breach of contract claim should also be dismissed.

           B.      Damages: The Parties’ Contract Precludes Recovery Of Omegra’s Alleged
                   Damages

           Omegra fails to allege facts plausibly supporting that it incurred damages.

           Under the Marine Fuel Contract, WFS shall not be liable for “indirect, special, incidental,

   exemplary, punitive or consequential damages[,]” including, among other things, costs arising out

   of vessel delays, lost profits, and loss caused by business interruption Am. Comp., Ex. C ¶ 6(g).

   The only purported damages that Omegra alleges it suffered, however, relate to those types of



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   expressly excluded damages: (1) Omegra being unable to “fix” the Vessel (i.e., rent the Vessel to

   a third party), (2) costs associated with sailing to Singapore and the Straits of Malacca to de-bunker

   the Vessel, (3) costs associated with testing various Bunker samples, and (4) other expenses

   relating to the Bunkers. Am. Compl. ¶¶ 22, 24. Omegra thus fails to allege any recoverable

   damages, a necessary element to its breach of contract claim. See Alonzo-Pombo, 307 So. 3d

   at 842 (dismissing contract claim for failure to allege recoverable damages); see also Korea Line

   v. World Fuel Services, 12-cv-20122 (S.D. Fla.), ECF No. 41 (June 30, 2015) at 4–10 (enforcing

   a similar exculpatory, limitation-of-liability clause, finding the clause was clear and unequivocal

   (citing Diesel v. Islander Invs., 271 F.3d 1318, 1324 (11th Cir. 2001))); Cooper v. Meridian Yachts,

   575 F.3d 1151, 1167 (11th Cir. 2009) (“Florida law would give effect to the [exculpatory and

   limitation-on-liability] provision at issue here as the contractual language is clear and

   unequivocal.”); Kelly v. Lee County RV Sales, 819 Fed. Appx. 713, 717 (11th Cir. 2020) (same);

   Murphy v. Young Men’s Christian Ass’n, 974 So. 2d 565, 568 (Fla. 2d DCA 2008) (same).

          Omegra will inevitably argue that WFS’s purported gross negligence renders the contract’s

   remedy limitation unenforceable. That is, according to Omegra, the plausibility of its contract

   claim will turn on the viability of its gross negligence claim. Because Omegra’s gross negligence

   claim should be dismissed (discussed below), its breach of contract claim should also be dismissed.

                                                    ***

          Count I should thus be dismissed for failure to state a claim for breach of contract.

   II.    Count II Fails To State A Claim For Negligence

          Omegra’s negligence claim should be dismissed for two reasons.               First, Omegra’s

   negligence claim is barred under maritime law by well-established, bright line economic-loss rules

   arising out of the U.S. Supreme Court’s seminal decisions in Robins Dry Dock and East River.

   See Robins Dry Dock & Repair Co. v. Flint, 275 U.S. 303 (1927); East River Steam Ship v.


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   Transamerica Delaval, 476 U.S. 858 (1986); see also Heinen v. Royal Caribbean Cruises, 806 F.

   App’x 847, 850 (11th Cir. 2020) (affirming dismissal of negligence claim under maritime

   economic-loss rule). Second, Omegra fails to allege sufficient facts plausibly supporting that it

   was damaged in connection with its negligence claim. Newbauer, 26 F.4th at 935 (dismissing

   negligence claim in maritime action for failure to state a claim, noting elements of negligence).

          A.      Maritime Economic-Loss Rules Bar Omegra’s Negligence Claim

                  1.      Count II Is Barred Under The Robins Dry Dock Rule

          Under Robins Dry Dock, an unintentional maritime tort seeking recovery of economic

   losses should be dismissed where the plaintiff fails to allege “[1] physical injury to [2] their person

   or their property[.]” Heinen, 806 F. App’x at 850 (quoting Kingston Shipping v. Roberts, 667 F.2d

   34, 35 (11th Cir. 1982) (citing Robins Dry Dock & Repair v. Flint, 275 U.S. at 309); see Am.

   Petroleum & Transp. v. City of New York, 737 F.3d 185, 187 (2d Cir. 2013) (Robins Dry Dock is

   a “bright line rule barring recovery for economic losses caused by an unintentional maritime tort

   absent physical damage to property in which the victim has a proprietary interest”).

          Here, Omegra seeks to recover only economic losses in its negligence claim. But Omegra

   neither alleges (1) that there was a physical injury to the Vessel, nor (2) that it held a property

   interest in the Vessel. Indeed, Omegra affirmatively alleges the opposite—that (1) the Vessel did

   not consume WFS’s fuel, and (2) Owners (rather than Omegra) own the Vessel. See Am. Compl.

   ¶¶ 6–7, 22. Count II is accordingly barred under the Robins Dry Dock rule and should thus be

   dismissed. See Heinen, 806 F. App’x at 850 (affirming dismissal of negligence claim because the

   plaintiffs did not “allege that their out-of-pocket expenses stem from physical injury to their person

   or their property—they allege purely economic losses stemming from the additional time they

   spent” in port); Louisville & N. R. v. M/V Bayou Lacombe, 597 F.2d 469, 471–74 (5th Cir. 1979)

   (negligence claim barred under the Robins Dry Dock rule where the plaintiff lacked a property


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   interest in a damaged bridge because the plaintiff only had a right to use the bridge pursuant to a

   contract with the bridge’s owner); Trans-Tec Int’l v. TKK Shipping (PTE), 1:18-cv-23199-KMW

   (S.D. Fla.) (“Trans-Tec Action”), ECF No. 81 (Nov. 25, 2020) at 4–8 (dismissing negligence claim

   under the Robins Dry Dock rule in light of the plaintiff’s “status as [the vessel’s] time charterer”

   and not owner such that it lacked the necessary property interest, noting that “[a]ny tort committed

   by [the defendant] against the ship is one that the ship’s owners must seek to recover for, and any

   contract breach must be recovered by the parties to the contract”).

                  2.      Count II Is Barred Under The East River Rule

          Under East River, a tort claim should be dismissed “where the basis for liability arises from

   a contract.” R/V Beacon, LLC v. Underwater Archeology & Exlp., No. 14-cv-22131, 2014 Wl

   4930645, at *5 (S.D. Fla. Oct. 1, 2014) (citing East River, 476 U.S. at 871). That is, a plaintiff

   may not “recover damages in tort for matters arising from the contract.” Great Lakes Reinsurance

   (UK) PLC v. Sunset Harbour Marina, No. 10-24469-CIV, 2011 WL 13223741, at *3 (S.D. Fla.

   July 1, 2011) (Jordan, J.).      This rule is “designed to prevent parties to a contract from

   circumventing the allocation of losses set forth in the contract by bringing an action for economic

   loss in tort.” Great Lakes Reinsurance, 2011 WL 13223741, at *3. A tort action is therefore

   barred “where a defendant has not committed a breach of duty apart from a breach of contract.” Id.

   This economic-loss rule specifically applies to maritime-related torts. See id. (collecting cases

   holding same, including East River); Am. Marine Tech v. World Grp. Yachting, 418 F. Supp. 3d

   1075, 1081 (S.D. Fla. 2019) (“[T]he maritime economic loss doctrine has been expanded to reach

   situations where a party is attempting to bring a breach of contract action couched as a tort claim.”);

   R/V Beacon, 2014 WL 49.0645, at *5 (same).

          Here, Omegra’s negligence claim is based on the same general allegations asserted in

   support of its breach of contract claim such that there is no material difference between the two


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   causes of action. Omegra alleges that WFS breached a duty arising out of the parties’ contract,

   and Omegra alleges the same exact economic-loss damages as in its contract claim.          See Am.

   Compl. ¶¶ 35–40. Count II is accordingly barred under the East River rule and should be thus

   dismissed with prejudice. See Great Lakes Reinsurance, 2011 WL 13223741, at *3 (dismissing

   gross negligence claim under East River because it was “simply a restatement of [the] breach of

   contract claim, except that it [was] re-fashioned as a tort-based cause of action[,]” which is

   “precisely what the [East River rule] was intended to prohibit”); Am. Marine Tech, 418 F. Supp.

   3d at 1082 (same); Trans-Tec Action, ECF No. 49 (Jul. 29, 2019) at 5–9 & n.2 (same, finding “no

   material difference between [the plaintiff’s] negligence claim and its breach of contract claim” in

   that the breach of duty (providing off-specification fuel) and damages (which were precluded

   under the parties’ contract) were the same, dismissing claim with prejudice because any

   amendment would be futile in light of the breach of contract claim).

          B.      The Parties’ Contract Precludes Recovery Of The Sought Economic-Loss
                  Damages

          Omegra also fails to allege facts plausibly supporting recoverable damages with respect to

   its negligence claim. As discussed above, Omegra seeks the same exact economic-loss damages

   in its negligence claim as it does in its contract claim. Am. Compl. ¶¶ 26–34 (Count I), 35–40

   (Count II). These alleged damages are expressly excluded under the parties’ contract, which

   specifically applies to tort actions, “including negligence[.]” Compare Id. ¶¶ 22, 24, 40, with id.,

   Ex. C ¶ 6(g). Accordingly, Omegra’s negligence claim should be dismissed for the same reasons

   discussed above regarding Omegra’s breach of contract claim. See supra Arg. § I.B. (failure to

   plead damages); L. Luria & Son v. Alarmtec International, 384 So. 2d 947 (Fla. 4th DCA 1980)

   (affirming dismissal of negligence claim in a maritime action because the parties’ contract

   precluded recovery of the sought damages).



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                                                    ***

          Count II should thus be dismissed for failure to state a claim of negligence.

   III.   Counts III and IV Fail To State Claims For Fraud And Gross Negligence

          This section addresses both Counts III (Fraud) and IV (Gross Negligence). The bald and

   un-particularized nature of Omegra’s fraud and gross negligence allegations demonstrates that

   these claims were pled for the sole purpose of attempting to avoid provisions of the Marine Fuel

   Contract that are fatal to Omegra’s breach of contract claim. As demonstrated below, both of these

   claims should be dismissed, and the Court should disregard any argument on the part of Omegra

   that relies on its fraud and gross negligence allegations to avoid the contractual terms it agreed to.

          A.      Governing Law

          A fraud claim should be dismissed where, like here, the plaintiff fails to allege sufficient

   facts plausibly supporting “(a) that there was a misrepresentation of a material fact; (b) that the

   defendant knew the falsity of the representation; (c) that the defendant made the representation

   intending that the plaintiff would rely on it in doing an act desired by the defendant; and (d) that

   the plaintiff’s reliance caused damage.” Myers v. Myers, 652 So. 2d 1214, 1215 (Fla. 5th DCA

   1995) (citing Joiner v. McCullers, 28 So. 2d 823 (Fla. 1947)).

          A gross negligence claim should be dismissed where, like here, the plaintiff fails to allege

   sufficient facts plausibly supporting that the defendant’s negligence (discussed above) amounted

   to recklessness, in that the plaintiff failed to plead “(1) the existence of a composite of

   circumstances which, together, constitute an imminent or clear and present danger amounting to

   more than the normal and usual peril; (2) a showing of chargeable knowledge or awareness of the

   imminent danger; and (3) an act of omission occurring in a manner which evinces a conscious

   disregard of the consequences.” Deutsche Bank Nat. Tr. v. Foxx, 971 F. Supp. 2d 1106, 1117

   (M.D. Fla. 2013) (citation omitted); Fla. Stat. § 768.72(2)(b) (“‘Gross negligence’ means that the


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   defendant’s conduct was so reckless or wanting in care that it constituted a conscious disregard or

   indifference to the life, safety, or rights of persons exposed to such conduct.”). Plaintiffs often

   attempt to satisfy this heightened form of negligence with allegations regarding fraud, as Omegra

   attempts to do here. See Am. Compl. ¶ 51.

           Moreover, claims that sound in fraud should be dismissed where the plaintiff fails to plead

   the circumstances of the fraud with particularity, in that the plaintiff fails to specifically allege the

   “who, what, when, where, and how” of the fraud. See Ceithami v. Celebrity Cruises, 207 F. Supp.

   3d 1345, 1352–54 (S.D. Fla. 2016) (citing Garfield v. NDC Health, 466 F. 3d 1255, 1262 (11th

   Cir. 2006)); Fed. R. Civ. P. 9(b).

           B.      Application

           Omegra generally alleges that WFS and Sentek fabricated a sample of fuel to deceive

   Omegra with respect to the fuel’s quality. This—Omegra asserts—reflects not only that WFS

   defrauded Omegra, but also that WFS was grossly negligent. Omegra’s fraud and gross negligence

   claims are insufficiently pled.

           As an initial matter, Rule 9(b)’s heightened pleading standard applies to both the fraud and

   gross negligence claims because, as pled, both causes of action are based on the same purported

   fraudulent scheme such that each cause of action sounds in fraud. See Am. Compl. ¶¶ 44–47, 51–

   55; Rana Fin. v. City Nat’l Bank of New Jersey, 347 F. Supp. 3d 1147, 1155 (S.D. Fla. 2018)

   (applying Rule 9(b) heightened pleading standard to claim for gross negligence because it was

   “based upon alleged fraudulent statements”).

           First, Omegra fails to allege how the asserted fraud in any way caused Omegra’s alleged

   damages. Omegra claims that the fraudulent scheme was simply designed to prevent Omegra from

   asserting a claim against WFS. Am. Compl. ¶ 45. But Omegra asserts that WFS committed fraud

   and gross negligence by presenting the allegedly fabricated Supplier Sample for testing after the


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   fuel was delivered and, most importantly, after Omegra had already put WFS on notice of its

   claims that the fuel was off specification. Id. ¶¶ 14–15, 19. And Omegra’s damages all relate to

   Owners’ decision not to consume the allegedly off-specification fuel, a decision that was made

   before the Supplier Sample was ever tested. See id. ¶¶ 15, 22. Thus, regardless of whether the

   purportedly off-specification fuel was the product of fraud or not, Omegra would still have

   incurred the asserted damages associated with addressing the allegedly unfit fuel. See, e.g.,

   Prentice v. R.J. Reynolds Tobacco, No. SC20-291, 2022 WL 805951, at *4 (Fla. Mar. 17, 2022)

   (discussing requirement of but-for causation in common law fraud claims).

          Second, Omegra fails to specifically allege who created the purportedly false sample of

   fuel, when that sample was created, where it was created it, how it was created, or any other facts

   regarding the circumstances of the allegedly fraudulent scheme. Indeed, Omegra alleges that WFS

   “made a false statement concerning material fact” by providing Sentek’s sample for testing, but

   Omegra does not allege any specifics with respect to what, if any, statement WFS made about the

   sample, or any allegations concerning how, when, or where WFS presented the sample for testing.

   Am. Compl. ¶¶ 18, 44–45. Omegra does not even allege that WFS was ever in possession of

   Sentek’s sample. Omegra thus fails to satisfy Rule 9(b)’s heightened pleading requirement for

   Counts III and IV. Rana Fin., 347 F. Supp. 3d at 1155 (dismissing complaint—including claims

   of fraud and gross negligence—for failure to satisfy Rule 9(b)).

          In this connection, Omegra attempts to skirt its pleading obligations by basing its fraud

   assertions on “information and belief.” Omegra asserts that, (1) on “information and belief,”

   WFS knew that Sentek’s sample was from a different fuel source, and (2) on “information and

   belief,” WFS intended to deceive Omegra and prevent it from making a claim against WFS. See

   Am. Compl. ¶¶ 44, 45. But Omegra fails to allege any of the underlying factual “information” that




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   reasonably supports any of those asserted “beliefs.” Such conclusory pleading is insufficient to

   meet ordinary pleading standards, let alone the heightened pleading standard under Rule 9(b). See

   Scott, 2018 WL 3360754, at *6–7 (dismissing complaint because material allegations were based

   entirely on “information and belief”); Sinaltrainal v. Coca-Cola, 578 F.3d 1252, 1268 (11th Cir.

   2009) (same); Magnum Constr. v. WSP, 522 F. Supp. 3d 1202, 1209 (S.D. Fla. 2021) (same).

          Finally, Omegra fails to allege facts supporting its gross negligence claim’s heightened

   reckless, conscious breach requirement. The asserted duty concerns taking reasonable measures

   to provide on-specification fuel to the Vessel. See Am. Compl. ¶ 49. But—notwithstanding

   Omegra’s bald allegations that WFS provided a fraudulent sample for testing after the Bunkers

   were delivered (see id. ¶ 51)—Omegra does not assert any allegations that WFS knowingly

   delivered off-specification fuel or otherwise explain what WFS could have done to obtain that

   knowledge. In fact, Omegra alleges facts reflecting the opposite—that WFS did take reasonable

   care to satisfy its duties: (1) WFS’s supplier (Sentek) took multiple samples of the fuel at delivery,

   (2) Sentek retained two samples and gave the others to Owners, and (3) the sample that Sentek

   retained (the contractually binding Supplier Sample) reflected that the fuel was within the

   contract’s specification. See id. ¶¶ 12, 15 & Ex. D. Simply put, Omegra’s gross negligence claim

   fails to allege what WFS should have done but failed to do to avoid the purported breach of duty.

   See Lamm v. State St. Bank & Tr., 889 F. Supp. 2d 1321, 1329 (S.D. Fla. 2012) (dismissing gross

   negligence claim because the plaintiff’s “allegations at most establish that [defendant] should have

   known of the fraud, whereas gross negligence under [Florida] law requires a conscious disregard

   of one’s duties” (citing Cent. State Transit & Leasing v. Jones Boat Yard, 206 F.3d 1373, 1377

   (11th Cir. 2000)); see also VL8 Pool v. Glencore, No. 20-CV-2053-ALC, 2021 WL 6113981,

   at *2–3 (S.D.N.Y. Dec. 27, 2021) (dismissing gross negligence claim because the plaintiff failed




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   to allege sufficient facts plausibly supporting that, at the time of delivery, the defendant knew or

   should have known that the marine fuel was off-specification).

                                                   ***

          Counts III and IV should thus be dismissed for failure to state a claim of fraud and gross

   negligence, respectively.3

                                            CONCLUSION

          For the reasons discussed above, the Amended Complaint should be dismissed in full, and

   Count II (Negligence) should specifically be dismissed with prejudice.

   Dated: Miami, Florida
          May 13, 2022
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          In the event the Court dismisses either Count III or IV, it should also dismiss Count I, as
   discussed at the conclusion of Sections I.A. and I.B. above.


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